
260 P.3d 208 (2011)
172 Wn.2d 1009
STATE of Washington, Respondent,
v.
Stuart Alan BACHMAN, Petitioner.
No. 84096-2.
Supreme Court of Washington.
September 7, 2011.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Owens, J.M. Johnson and Wiggins, considered at its September 6, 2011, Motion Calendar, whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted and the case is remanded to the Court of Appeals Division Two for reconsideration in light of Supreme Court No. 83525-0State of Washington v. Michael Wayne Robinson, 171 Wash.2d 292, 253 P.3d 84 (2011).
For the Court
/s/ Madsen, C.J.
CHIEF JUSTICE
